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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



DANIEL WILLIAM RUDD,

             Plaintiff,                                Case No. 1:18-CV-124
v.
                                                       HON. GORDON J. QUIST
CITY OF NORTON SHORES,
et al.,

             Defendants.
                               /

                     ORDER GRANTING DEFENDANT McINTIRE’S
                              MOTION TO DISMISS

      In accordance with the Opinion entered today,

      IT IS HEREBY ORDERED that Defendant McIntire’s Motion to Dismiss (ECF No. 23)

is GRANTED, and Defendant McIntire is DISMISSED from this case.

      IT IS FURTHER ORDERED that because Counts 1, 3, and 4 fail to state a claim against

any Defendant, those claims are DISMISSED as to the remaining Defendants.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to File a Sur-Reply (ECF

No. 46) is DENIED.


Dated: August 8, 2018                                  /s/ Gordon J. Quist
                                                      GORDON J. QUIST
                                                 UNITED STATES DISTRICT JUDGE
